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   .. JONATHON A. MOSELEY, ATTORNEY AT LAW
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                                                                       November 4, 2021

Mr. Luke M. Jones, Esq.
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street, N.W.
Washington, D.C. 20530

Mr. Jason B. A. McCullough, Esq.
Assistant United States Attorney
U.S. Attorney’s Office
       for the District of Columbia
555 4th Street, N.W.
Washington, D.C. 20530

Re:    Re-Production of Brady Materials
       USA v. Nordean (Zachary Rehl)


Dear Mr. Jones and Mr. McCullough:

      I am writing as attorney for Mr. Zachary Rehl in the combined group criminal case
of USA v. NORDEAN, Case No., in the U.S. District Court for the District of Columbia.
Criminal Case No. 1:21-cr-00175-TJK-3.

        Enclosed please find three (3) blank external hard drives with storage capacity 2
terabytes each brand name WD Elements, purchased from the MicroCenter store in
Merrifield, Virginia.

         I am asking the U.S. Attorney’s Office to copy any and all Brady disclosure
materials, including videos, photographs, documents, and screenshots or print-outs (such
as PDF) of any and all Brady disclosure provided to Zachary Rehl’s legal counsel from the
start of this case until today.

        Please note that I especially want to make sure that we address the items identified
in your Opposition memorandum, which I attach for ease of reference. Please recall your
table presented on page 10 of your Opposition memorandum, attached.


                    . . . . . . . . . . . . . . . . . . . . . . . .. . .
                                5765-
                                5765-F Burke Center Parkway #337
                                       Burke,
                                       Burke, Virginia 22015
                                      (Meetings By Appointment Only)
                                  (703) 656-
                                        656-1230 Fax: (703) 997-
                                                            997-0937
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       Judge Timothy Kelly is correct that Zachary Rehl’s prior counsel is responsible to
forward the client file and/or case file of Zachary and any discovery provided by the
Government to him to Zachary Rehl’s new counsel.

      However, I am not confident that I will get full cooperation given the nature of
Zachary Rehl’s complaint about this prior counsel.

       I also envision questions and uncertainty that would be time-consuming for you
and me as to whether or not a complete copy of all Brady materials were forwarded to
present counsel.

        Even though it may be a burden to your office that I tried to avoid by going first to
prior counsel, I can envision that trusting in the prior production being forwarded would
end up being more of a burden, more confusing, and more time-consuming in terms of
trying to go back and forth and see if everything was provided or not.

        So it just seems to me that the short-term burden of re-copying all of this would
actually end up being less work than trying to cross-check what did or did not get
forwarded from prior counsel.

          Obviously, I am trying to find a solution that will make this as easy as possible for
all.

        I do not know what format or structure the Brady material is stored in within your
offices, the FBI, etc.

      I do not know what the organizational sources may be for various parts of the
Brady material.

       Therefore, I do not know if it will make sense or be easy to copy it all onto these
external hard drives.

       For each hard drive to have 2 terabytes is a lot of storage. I am providing 3 of them
because I suspect that the Government may be copying from different sources or formats
or from different organizational sections.

          Obviously, I am guessing whether or not this will solve the problem.

        If you find that you would rather have more individual external hard drives to
accommodate different formats or structures perhaps coming from different organizational
units, please let me know.
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        Also, I am not returning the “Fortress” external hard drive provided in September
that has the code key lock on the front because this does work and it does contain data.
My problem with that is that the drive contains 5 folders, and 3 of them contain actual,
accessible data in a data format that I don’t know how to access.

        But the data is actually there and readable on the “Fortress” external hard drive, so I
will just hold on to it while we work out what software is needed to read those data files (in
3 of the 5 folders, the other 2 are fine).

        Also, I have not yet started to wade through the data provided on Evidence.com. I
am familiar with Evidence.com and I expect that there will not be any difficult with that
data, although my paralegal identified around 3,000 different items to review.

       Therefore, unless it is easier for you to just dump everything on all at once, you do
not need to copy the Evidence.com items or the “Fortress” hard drive items.

        I will also be returning the old media that I received from Shaka Johnson, but
instead of first writing a letter to inventory what I will be delivering I thought I should get
these blank hard drives to you as soon as possible.

                                               Sincerely,




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